                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:     CHENELL NYREE RAGIN
           AKA: CHENELL JOSEPH



                         Debtor(s)
                                                                 CHAPTER 13
           CHARLES J. DEHART, III
           CHAPTER 13 TRUSTEE
                      Movant                                     CASE NO: 5-20-00298-HWV

           vs.

           CHENELL NYREE RAGIN
           AKA: CHENELL JOSEPH

                         Respondent(s)

                              TRUSTEE’S MOTION TO DISMISS CASE

COMES NOW, on April 7, 2021, Charles DeHart, III, Esquire, Standing Chapter 13 Trustee, through his
attorney Agatha R. McHale, Esquire moves this Honorable Court for dismissal of the above-captioned
Chapter 13 bankruptcy case in accordance with 11 U.S.C. Section 1307(c), due to material default by the
debtor(s) with respect to the terms of the plan.

Notice of hearing and other instructions are included with this Motion.

WHEREFORE, your Trustee prays that this Honorable Court enter an Order dismissing the above-captioned
case in accordance with 11 U.S.C. Section 1307(c).
Dated: April 7, 2021                               Respectfully submitted,

                                                         /s/ Agatha R. McHale, Esquire
                                                         ID: 47613
                                                         Attorney for Movant
                                                         Charles J. DeHart, III
                                                         Standing Chapter 13 Trustee
                                                         8125 Adams Drive, Suite A
                                                         Hummelstown, PA 17036
                                                         Phone: (717) 566-6097
                                                         Fax: (717) 566-8313
                                                         eMail: amchale@pamd13trustee.com




  Case 5:20-bk-00298-HWV           Doc 45    Filed 04/07/21     Entered 04/07/21 14:34:00   Desc
                                             Page 1 of 5
                         UNITED STATES BANKRUPTCY COURT
                     FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

     IN RE:    CHENELL NYREE RAGIN
               AKA: CHENELL JOSEPH
                                                                 CHAPTER 13
                                Debtor(s)

               CHARLES J. DEHART, III
                                                                 CASE NO: 5-20-00298-HWV
               CHAPTER 13 TRUSTEE
                            Movant

                                                  NOTICE

NOTICE IS HEREBY GIVEN THAT Charles J. DeHart, III, Standing Chapter 13 Trustee for the Middle
District of Pennsylvania has filed a Motion to Dismiss for failure to make timely payments pursuant to your
Chapter 13 Plan.

YOU ARE HEREBY NOTICED that a HEARING with the Court has been scheduled on this motion. Any
matters not resolved shall be heard at the dismissal hearing.

                     May 5, 2021 at 09:30 AM
                     This hearing will be held telephonically using Courtcall.




YOU ARE FURTHER NOTICED that you MUST attend the dismissal hearing unless one
of the following takes place.

1.     You have paid the following and have confirmed payment with Trustee DeHart's office.

                      AMOUNT DELINQUENT AS OF LAST MONTH: $ 1921.76
                           AMOUNT DUE FOR THIS MONTH: $480.44
                     TOTAL AMOUNT DUE BEFORE HEARING DATE: $2402.20

NOTE:
    ALL payments must be made by CERTIFIED CHECK, MONEY ORDER or through
    TFSBILLPAY.COM. NO PERSONAL CHECKS OR CASH WILL BE ACCEPTED!

        DO NOT send your payments REGISTERED, CERTIFIED, FEDERAL EXPRESS, UPS, or by any
        other special delivery service. Doing so will delay processing of your payment and may result in
        dismissal of your case.

        If submitting payment by U.S. First Class Mail mail to:
                  CHARLES J. DEHART, III, PO BOX 7005, LANCASTER, PA 17604

       If submitting payment using TFSBILLPAY.COM please allow 5 business days for payment to
be applied.




     Case 5:20-bk-00298-HWV         Doc 45     Filed 04/07/21    Entered 04/07/21 14:34:00      Desc
                                               Page 2 of 5
2. You have entered into a valid stipulation with Trustee DeHart and that stipulation has been filed with
the Court, or

3. You have filed a voluntary conversion or a voluntary case dismissal with the U.S. Bankruptcy Court
and have served a copy of that motion upon Trustee DeHart.

FAILURE TO COMPLY WITH THE ABOVE WILL RESULT IN YOUR CHAPTER 13 CASE
BEING CALLED FOR DISMISSAL HEARING WITH THE COURT ON THE DATE AND TIME
AS SPECIFIED IN THIS NOTICE. THIS MAY RESULT IN DISMISSAL OF YOUR CASE.

                                                           Charles J. DeHart, III, Trustee
                                                           8125 Adams Drive, Suite A
                                                           Hummelstown, PA 17036
                                                           Phone: (717) 566-6097
Dated: April 7, 2021




  Case 5:20-bk-00298-HWV          Doc 45    Filed 04/07/21     Entered 04/07/21 14:34:00      Desc
                                            Page 3 of 5
                      UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:     CHENELL NYREE RAGIN
           AKA: CHENELL JOSEPH
                                                            CHAPTER 13

                           Debtor(s)

           CHARLES J. DEHART, III                           CASE NO: 5-20-00298-HWV
           CHAPTER 13 TRUSTEE
                       Movant

                                       CERTIFICATE OF SERVICE

I certify that I am more than 18 years of age and that on April 7, 2021, I served a copy of this Motion to
Dismiss, Notice and Proposed Order on the following parties.

                                                Served Electronically
   PATRICK J BEST, ESQUIRE                                           UNITED STATES TRUSTEE
   ANDERS RIEGEL & MASINGTON                                         SUITE 1190
   18 N 8TH STREET                                                   228 WALNUT STREET
   STROUDSBURG, PA 18360-                                            HARRISBURG, PA 17101

                                              Served by First Class Mail
   CHENELL NYREE RAGIN
   715 FRANKLIN CT
   EAST STROUDSBURG, PA 18302


I certify under penalty of perjury that the foregoing is true and correct.

Date: April 7, 2021                                 Liz Joyce
                                                    for Charles J. DeHart, III, Trustee
                                                    Suite A, 8125 Adams Dr.
                                                    Hummelstown, PA 17036
                                                    Phone: (717) 566-6097
                                                    eMail: dehartstaff@pamd13trustee.com




Case 5:20-bk-00298-HWV            Doc 45      Filed 04/07/21     Entered 04/07/21 14:34:00       Desc
                                              Page 4 of 5
                            UNITED STATES BANKRUPTCY COURT
                        FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

IN RE:   CHENELL NYREE RAGIN
         AKA: CHENELL JOSEPH
                                                       CHAPTER 13
                       Debtor(s)

         CHARLES J. DEHART, III
         CHAPTER 13 TRUSTEE
                    Movant                             CASE NO: 5-20-00298-HWV

         vs.

         CHENELL NYREE RAGIN                           MOTION TO DISMISS
         AKA: CHENELL JOSEPH



                                        ORDER DISMSSING CASE

       Upon consideration of the Trustee’s Motion to Dismiss, it is hereby Ordered that the above-
captioned bankruptcy be and hereby is dismissed.




  Case 5:20-bk-00298-HWV           Doc 45    Filed 04/07/21    Entered 04/07/21 14:34:00       Desc
                                             Page 5 of 5
